                             UNITED STATES DISTRICT COURT

                         FOR THE MIDDLE DISTRICT OF TENNESSEE

                                     NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
                                              )
       v.                                     )        No. 3:02-00084-1
                                              )        Judge Campbell
                                              )
ANTONIO L. CASON, JR.                         )

                                            ORDER

       Pursuant to the agreement of the parties, the Court hereby grants the petition for early

termination of supervised release (D.E. 83) effective six (6) months from the entry of this Order

or upon petitioner’s filing of proof that he has received his commercial driver’s license,

whichever comes first.

       Enter this the ___ day of ____________, 2013.



                                              ________________________________
                                              TODD J. CAMPBELL
                                              U.S. DISTRICT JUDGE

APPROVED FOR ENTRY:


s/ Sumter L. Camp
Sumter L. Camp
Assistant Federal Public Defender


s/ Sunny A.M. Koshy (by permission)
Sunny A.M. Koshy
Assistant United States Attorney




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